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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

In Re:
                                                   Chapter 7
David T. Radosti,                                  Case No. 9:19-bk-00774-FMD
Shannon E. Radosti,

         Debtor(s).
                                              /

                           APPLICATION TO EMPLOY COUNSEL

        Luis E. Rivera, II, as Chapter 7 Trustee, pursuant to 11 U.S.C. § 327(a) & (d) and Rule 2014,
Federal Rules of Bankruptcy Procedure, requests authority to employ Luis E. Rivera, II of the law
firm of GrayRobinson, P.A., P.O. Box 1026, Fort Myers, FL 33902 (collectively, “GrayRobinson”),
to represent or assist him in carrying out his duties as trustee in this case, stating as follows:

        1.      Due to the complicated legal problems involved in the administration of this estate,
the Trustee requests the Court allow him to employ GrayRobinson”), to represent or assist him in
carrying out his duties as trustee in this case.

        2.       The Trustee believes GrayRobinson is most-qualified to represent him in the case in a
cost-effective, efficient and timely manner.

        3.      Subject to the Court’s approval, GrayRobinson’s fees shall be billed at the attorney’s
hourly rate at the time the work is performed. Mr. Rivera’s current hourly rate is $375.00. Other
attorneys within the law firm may provide assistance to the Trustee, at hourly fees ranging from
$175.00 to $600.00.

        4.      To the best of the Trustee’s knowledge, except as otherwise disclosed in the
accompanying Verified Statement and this Application (i) GrayRobinson and its attorneys are
“disinterested persons” as that phrase is defined in 11 U.S.C. § 101(14), and (ii) GrayRobinson
neither represents nor holds an interest adverse to the interest of the estate with respect to any matter
on which GrayRobinson is to be employed.

        WHEREFORE, Luis E. Rivera, II, as Chapter 7 Trustee, prays the Court enter an Order
authorizing him to employ GrayRobinson, and, subject to further application and order of this Court,
to pay GrayRobinson a reasonable fee for their services from the estate.

                                     /s/ Luis E. Rivera II
                                     Luis E. Rivera II, Trustee
                                     P.O. Box 1026
                                     Fort Myers, FL 33902
                                     (239) 254-8466
                                     Trustee.Rivera@gray-robinson.com
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                                         DECLARATION

        I, Luis E. Rivera, II, of the law firm of GrayRobinson, P.A., pursuant to 28 U.S.C. 1746,
declare under penalties of perjury that:

        1.      I am a member in good standing of The Florida Bar. I am also a member of the bars
of the United States Court of Appeals for the Eleventh Circuit and the United States District Courts
for the Middle and Southern Districts of Florida;

        2.      I am a Shareholder with the law firm of GrayRobinson, P.A. GrayRobinson
maintains a computerized conflicts check system. The facts stated in this Declaration as to the
relationship between GrayRobinson, the Debtor(s), the Debtor’s creditors, the United States Trustee,
other persons employed by the Office of the United States Trustee, and those persons and entities
who are defined as disinterested persons in 11 U.S.C. § 101(14) are based on the results of my review
of GrayRobinson’s conflict check system. Based upon such search, GrayRobinson does not
represent any entity in any matter involving or adverse to the Debtor’s estate or which would
constitute a conflict of interest or impair the disinterestedness of GrayRobinson in respect of the
matters upon which the Trustee proposes to engage GrayRobinson.

        3.      Except as set forth hereafter, I have no connection with the debtor, creditors, or any
other party in interest, their respective attorneys and accountants, the United States Trustee, or any
person employed in the Office of the United States Trustee, except to the extent that (a) I am a panel
trustee and the Trustee in this case and (b) GrayRobinson may represent or may have represented
certain of the Debtor’s creditors in matters unrelated to this case; and

        4.      I have not and will not in any guise or form agree to share my compensation for such
services with any person, except with persons who are of counsel or members of my law firm.

                                    /s/ Luis E. Rivera II
                                    Luis E. Rivera II
                                    Florida Bar No. 0013913
                                    GRAYROBINSON, P.A.
                                    P.O. Box 1026
                                    Fort Myers, FL 33902
                                    (239) 254-8466
                                    Trustee.Rivera@gray-robinson.com

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 19, 2019, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system. I further certify that the foregoing was provided
electronically to the United States Trustee, 501 East Polk St., Suite 1200, Tampa, FL 33602.

                                    /s/ Luis E. Rivera II
                                    Luis E. Rivera II, Trustee
